Case 1:19-cv-02070-JDB Document 20-3

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Filed 09/02/21 Page 1of1

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VN cgteey dor 7 8S AARON opal AAR SR aR tall
MOHAMMAD ALI ATASHBARG.
Official Translator to Judiciary, Islamic Republic of Tran
No. 641 Enghelab Ave. 2nd. Fl ISSATIS, Tehran, Iran
Tel: (009821 ) 8827256 - 8846604 Telefax: 8840919

ot

Official Translation From Persian Text

Emb fem
Islamic Republic of Iran
Ministry of the Interior.

&tate Organization for Reg. of Census and Civil Status.

Sertal No.: A/65 953250

Sealed Photo of the Aolder affixed.
IGENTITY CAROCBIRTH CERTIFICATE)

IG, Card No. :364

name: MEHRANGIZ

Place of Birth: Ahwaz

Surname: KARKHETRAN SEBEHT

Date of Birth: 10 Oct. 1944

Sex: Fema la

PARENTS:

NAME

I.0, Card No.

issue Place

Father: Mostafa
Mother: 8atoul

24047
27077

Ahwaz~ f
Isfahan~1

Date of Issue :15 Nov, 1944

Place of Issue:dAhwaz-1
Signed & Sealed:

Responsible Office holder for Civil Status Registration

SPOUSE :

id, Card No. 487

First & Last Name: SLAMAK POURZAND

LILY 3010
AZADEH 14015

16 Sept. , 1978

08 Jan. , 1985

Birth Date: t8 Sept.1931 issued at Tebran Pist.:2
Marriage Date 7:19 Nov. 1969
Reg. No. 3835 Location: Tehran Notary Public No, 4 |
CHILDREN:

1
Nanie fa.Card No. Birth Date Issue Place Dist. |

fehran-2

Tehran-7

REMARKS: According ta Decision No. 408 dated 20 July, 1993
Ahwaz Dispute Settlement Body.-,the surname of the holder

Was corrected was From

True. translation is 'é
Tehran.iran = a

RKHAZAN SEDEHT to KARKHEIRAN

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6620 os FRY
sa ata lob agi
“MOHAMMAD Ae EBARG
{ Official English Trahglator to

Justice =
